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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

DANIEL WOODS and                         )
ROBERT TERRELL,                          )
                                         )
                   Plaintiffs,           )
                                         )       NO.
vs.                                      )
                                         )
CHICAGO POLICE OFFICER                   )
CARIDINE, STAR #13333;                   )       JUDGE
CHICAGO POLICE OFFICER ALLEN, )
STAR #15090; CHICAGO POLICE              )       MAGISTRATE
OFFICER RUHNKE, STAR #13698;             )
CHICAGO POLICE OFFICER                   )
MOORE, STAR #14480; CHICAGO              )
POLICE OFFICER RAMIREZ, STAR )
#15722; CHICAGO POLICE OFFICER )
COLEMAN, STAR #19652; CHICAGO )                  JURY DEMAND
POLICE OFFICER PETIT, STAR               )
#19978; CHICAGO POLICE OFFICER )
HOLT, STAR #3373, and OTHER              )
UNKNOWN CHICAGO POLICE                   )
OFFICERS, Individually and as            )
Employees/Agents of the City of Chicago, )
                                         )
                   Defendants.           )

                                COMPLAINT AT LAW

       NOW COME, DANIEL WOODS and ROBERT TERRELL, by and through their attorney,

the LAW OFFICES OF JEFFREY J. NESLUND, and in complaining of the Defendants, CHICAGO

POLICE OFFICERS CARIDINE, STAR #13333; ALLEN, STAR #15090; RUHNKE, STAR

#13698; MOORE, STAR #14480; RAMIREZ, STAR #15722; COLEMAN, STAR #19652; PETIT,

STAR #19978 and HOLT, STAR #3373, states as follows:




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                                         INTRODUCTION

       1.      This is an action for civil damages brought pursuant to 42 U.S.C. Sec. 1983 for the

deprivation of plaintiffs’ constitutional rights. This Court has jurisdiction pursuant to 28 U.S.C. Sec.

1331 and 1343.

       2.      Venue in this district is proper pursuant to 28 U.S.C sec. 1391 (b), because the facts

which give rise to the claims asserted herein occurred in the Northern District of Illinois.

       3.      Plaintiffs, DANIEL WOODS and ROBERT TERRELL, are individuals who at all

times relevant hereto were living in the Northern District of Illinois.

       4.      Defendants, CHICAGO POLICE OFFICERS CARIDINE, STAR #13333; ALLEN,

STAR #15090; RUHNKE, STAR #13698; MOORE, STAR #14480; RAMIREZ, STAR #15722;

COLEMAN, STAR #19652; PETIT, STAR #19978 and HOLT, STAR #3373, were at all times

material hereto, duly appointed Chicago Police Officers employed by the City of Chicago acting in

the capacity of sworn law enforcement officials.

                                      FACTUAL SUMMARY

       5.        On November 10, 2008, the Plaintiffs were in the vicinity of 7500 S. Colfax Avenue

in Chicago, Cook County, Illinois 60649.

       6.      Plaintiff ROBERT TERRELL was stopped, detained and arrested by DEFENDANT

OFFICERS ALLEN, CARIDINE and Other Unknown Defendant Officers despite the fact that

Plaintiff TERRELL was not in violation of any laws and DEFENDANT OFFICERS had not seen

Plaintiff TERRELL commit any crime.

       7.      Plaintiff DANIEL WOODS approached DEFENDANT OFFICER ALLEN and Other

Unknown Defendant Officers to find out why Plaintiff TERRELL had been taken into custody.




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       8.      Plaintiff WOODS was struck by a Chicago Police car driven up onto the sidewalk by

DEFENDANT OFFICER RAMIREZ.

       9.      After Plaintiff TERRELL was taken into custody, he was struck in the face with a

blunt object multiple times by DEFENDANT OFFICERS ALLEN and CARIDINE in the presence

of other DEFENDANTS.

       10.     Despite the fact both Plaintiffs were in need of medical attention for obvious injuries,

both Plaintiffs were taken to the 03rd District Chicago Police Station and denied medical attention

until the following day, November 11, 2008.

       11.     In order to cover up and conceal the misconduct described above, Plaintiff WOODS

was arrested and charged with the felony offense of Aggravated Battery to a Police Officer by

DEFENDANT OFFICER ALLEN.

       12.     DEFENDANT OFFICER ALLEN, DEFENDANT OFFICER CARIDINE and

OTHER DEFENDANT OFFICERS signed police reports and criminal complaints against Plaintiff

WOODS charging him with Aggravated Battery to a Police Officer knowing the contents in these

documents to be false.

       13.     On or about February 10, 2010, Plaintiff WOODS was found not guilty of the felony

offense of Aggravated Battery to DEFENDANT OFFICER ALLEN.

                                           COUNT I
                               42 U.S.C. § 1983: Excessive Force

       14.     Plaintiffs re-allege and incorporate paragraphs 1-13 above as fully stated herein.

       15.     The acts of DEFENDANT OFFICERS were a deliberate and malicious deprivation of

the Plaintiffs’ constitutional rights against excessive force as guaranteed to the Plaintiffs by the

Fourth Amendment of the Constitution and made applicable to the states by the Fourteenth

Amendment.


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       16.     As a result of the unreasonable and unjustifiable excessive force used by the

DEFENDANT OFFICERS, the Plaintiffs suffered physical and emotional injuries, and other

damages in violation of 42 U.S.C. 1983.

                                           COUNT II
                              Failure to Provide Medical Attention
       17.     Plaintiffs re-allege and incorporate paragraphs 1-13 above as fully stated herein.

       18.     After the plaintiffs’ misconduct and abuse of the Plaintiffs described above by the

DEFENDANT OFFICERS, knew the plaintiffs had serious medical conditions and were in need of

medical assistance.

       19.     The DEFENDANT OFFICERS were deliberately indifferent to the Plaintiffs’ serious

medical need and failed to provide them medical assistance.

        20.    The DEFENDANT OFFICERS’ deliberate indifference caused physical harm to the

Plaintiffs, including physical pain and suffering.

       21.     The misconduct described in this Count was undertaken by the DEFENDANT

OFFICERS under the color of law and within their scope of employment as Chicago Police Officers

such that their employer, The City of Chicago, is liable for their actions.



                                            COUNT III
                            State Law Claim: Malicious Prosecution
                                  (Plaintiff DANIEL WOODS)

       22.     Plaintiff re-alleges and incorporates paragraphs 1-13 above as fully stated herein.

       23.     Plaintiff was improperly subjected to judicial proceedings for Aggravated Battery to a

Police Officer for which there was no probable cause. These judicial proceedings were instituted and

continued maliciously, resulting in injury, and all such proceedings regarding the Aggravated Battery

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to a Police Officer charge were terminated in Plaintiff’s favor in a manner indicative of innocence.

        24.     DEFENDANT OFFICER accused Plaintiff of Aggravated Battery to a Police Officer,

knowing those accusations to be without probable cause, and they made written and other statements

with the intent of exerting influence to institute and continue judicial proceedings.

        25.     Statements of DEFENDANT OFFICER regarding Plaintiff’s alleged culpability were

made with knowledge that the statements were false and perjured. In so doing, the DEFENDANT

OFFICER fabricated evidence and withheld exculpatory information.

        26.     The misconduct described in this Count was undertaken with malice, willfulness,

reckless indifference to the rights of others.

        27.     As a result of the above-described wrongful infringement of Plaintiff’s rights, he

has suffered financial and other damages, including but not limited to substantial mental stress

and anguish.

        28.     The misconduct described in this Count was undertaken by the DEFENDANT

OFFICER within the scope of their employment such that their employer, CITY OF CHICAGO ,

is liable for their actions.

                                           COUNT IV
                          (Pendant State Claim of Common Law Battery)

        29.     Plaintiffs reallege paragraphs 1 through 13 above as fully stated herein.

        30.     The DEFENDANT OFFICERS caused physical injuries to the Plaintiffs without any

provocation or lawful justification and thereby committed a battery on the Plaintiffs.

        31.     The unlawful conduct of the DEFENDANT OFFICERS was willful and wanton and

proximately caused great bodily harm and psychological injuries to the Plaintiffs.



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         WHEREFORE, Plaintiffs, DANIEL WOODS and ROBERT TERRELL, ask judgment

against Defendants, CHICAGO POLICE OFFICERS CARIDINE, STAR #13333; ALLEN, STAR

#15090; RUHNKE, STAR #13698; MOORE, STAR #14480; RAMIREZ, STAR #15722;

COLEMAN, STAR #19652; PETIT, STAR #19978 and HOLT, STAR #3373, in a sum sufficient to

compensate the Plaintiffs for their injuries.



                                           COUNT V
                                State Law claim: Indemnification

         32.    Plaintiffs re-allege and incorporate paragraphs 1-13 above as fully stated herein.

         33.    In Illinois, public entities are directed to pay any tort judgment for compensatory

damages for which employees are liable within the scope of their employment activities. 735 ILCS

10/9-102.

         34.    DEFENDANT OFFICERS are or were employees of the CITY OF CHICAGO and

acted within the scope of their employment in committing the misconduct described herein.

                                    REQUEST FOR RELIEF

         35.    Plaintiffs, DANIEL WOODS and ROBERT TERRELL, respectfully requests that the

Court:

                a. Enter judgment in his favor and against Defendants, CHICAGO POLICE
                   OFFICERS CARIDINE, STAR #13333; ALLEN, STAR #15090; RUHNKE,
                   STAR #13698; MOORE, STAR #14480; RAMIREZ, STAR #15722;
                   COLEMAN, STAR #19652; PETIT, STAR #19978 and HOLT, STAR #33730;

                b. Award compensatory damages against Defendants, CHICAGO POLICE
                   OFFICERS CARIDINE, STAR #13333; ALLEN, STAR #15090; RUHNKE,
                   STAR #13698; MOORE, STAR #14480; RAMIREZ, STAR #15722;
                   COLEMAN, STAR #19652; PETIT, STAR #19978 and HOLT, STAR #3373;

                c. Award attorneys’ fees against Defendants, CHICAGO POLICE OFFICERS

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                   CARIDINE, STAR #13333; ALLEN, STAR #15090; RUHNKE, STAR #13698;
                   MOORE, STAR #14480; RAMIREZ, STAR #15722; COLEMAN, STAR
                   #19652; PETIT, STAR #19978 and HOLT, STAR #3373;

               d. Award punitive damages against CHICAGO POLICE OFFICERS CARIDINE,
                  STAR #13333; ALLEN, STAR #15090; RUHNKE, STAR #13698; MOORE,
                  STAR #14480; RAMIREZ, STAR #15722; COLEMAN, STAR #19652; PETIT,
                  STAR #19978 and HOLT, STAR #3373 in their individual capacities; and

               e. Grant any other relief this Court deems just and appropriate.


                                            JURY DEMAND
       Plaintiffs, DANIEL WOODS and ROBERT TERRELL, demand a trial by jury under the

Federal Rule of Civil Procedure 38(b) on all issues so triable.

                                                      Respectfully submitted,


                                                      /s/ Jeffrey J. Neslund
                                                      JEFFREY J. NESLUND
                                                      Attorney for Plaintiffs

Jeffrey J. Neslund
Law Offices of Jeffrey J. Neslund
150 North Wacker Drive
Suite 2460
Chicago, Illinois 60606
(312) 223-1100




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